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The following constitutes the ruling of the court and has the force and effect therein described.



Signed May 1, 2018
                                            United States Bankruptcy Judge
  ______________________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     IN RE:                                            §
                                                       §
     WALNUT HILL PHYSICIANS’                           §                          Chapter 7
     HOSPITAL, LLC,                                    §
                                                       §                    CASE NO. 17-32255-bjh-7
     DEBTOR.                                           §
                                                       §

                    ORDER GRANTING TRUSTEE’S MOTION FOR RULE 2004
                        EXAMINATION OF AMERICA TARECTECAN

              CAME ON FOR HEARING on the 26th day of April, 2018, the Expedited Motion for

     Rule 2004 Examination of America Tarectecan (the “Motion”), filed by Scott Seidel, (the

     “Trustee”), whereby the Trustee seeks an examination, under Bankruptcy Rule 2004, of America

     Tarectecan (“Tarectecan”). Finding that service and notice of the Motion was sufficient and

     appropriate, and for the reasons stated on the record, it is hereby:

              ORDERED that the Motion is GRANTED as provided for herein; it is further

              ORDERED that Tarectecan shall submit to and shall appear at a deposition pursuant to

     Bankruptcy Rule 2004 (the “Examination”), to be taken at the Trustee’s option, regarding the



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Debtor, and which Examination, if the Trustee exercises the option to take the same, is to take

place no later than 30 days from the date of entry of this Order; it is further

         ORDERED that the parties shall reasonably cooperate with respect to the timing of the

deposition; it is further

         ORDERED that the Examination shall take place at Munsch Hardt Kopf & Harr, P.C.,

500 N. Akard St., Ste. 3800, Dallas, Texas 75201; it is further

         ORDERED that this Order is without prejudice to the Trustee’s ability to return to the

Court on additional notice in the event that the Examination should be sealed based on privileged

matters covered;

         ORDERED that the Trustee may resort to subpoena to compel compliance with this

Order;

         ORDERED that the Court shall retain jurisdiction to interpret and enforce this Order.

                                  # # # END OF ORDER # # #

Order submitted by:
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